
230 Kan. 271 (1981)
634 P.2d 1067
SHARON L. ORR, Appellant,
v.
HOLIDAY INNS, INC., TOPEKA INN MANAGEMENT and HOLIDAY INN TOWERS, Appellees.
No. 51,535
Supreme Court of Kansas.
Opinion filed October 23, 1981.
Mary L. Stuckey and J. Roy Holliday, Jr., of Speer, Austin, Holliday, Lane &amp; Ruddick, Chartered, of Olathe, argued the cause, and J. Roy Holliday, Jr., was on the brief for the appellant.
Daniel P. Hanson, of Wallace, Saunders, Austin, Brown &amp; Enochs, of Overland Park, argued the cause, and Frank Saunders, Jr., of the same firm, was with him on the brief for the appellees.
MEMORANDUM OPINION
NEGLIGENCE  Workmen's Compensation Act as Defense  Identity of Injured Worker's Employer Is Material Fact.
The opinion of the court was delivered by
MILLER, J.:
We have carefully considered and reviewed the briefs, the arguments, and the record in this case, and we conclude that the Court of Appeals was correct in its determination of the matter. We therefore adopt the opinion of the Court of Appeals, Orr v. Holiday Inns, Inc., 6 Kan. App. 2d 335, 627 P.2d 1193 (1981), reverse the trial court upon its entry of summary judgment, and remand the case to the trial court for further proceedings in conformity with the opinion.
McFARLAND, J., not participating.
